GEORGIA, DEKALB COUNTY WARRANT NO.

Case 1:23-mi-99999-UNA Document 2907-9 File Of,
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22W018886

STATE OF GEORGIA CASE NO. 22s011-003901

Vv.

RANDAL Q REID

1724 CARISSA DR
CONYERS, GA, 30094

Prosecutor: A. I. Chang

4415 Memorial Drive

Decatur,GA,30032

Phone No: 404-298-8400

BadgeNo:2848 Agency:DeKalb County Sherif

Race:B, Sex: Male, Height:5'10', Weight:160, Hair:BLK Witness:
(Black), Eyes:BRO (Brown)
Custody: Yes Location: County Jail

AFFIDAVIT

Personally appeared the undersigned prosecutor, A. |. Chang who, on oath, says that, to the best of the prosecutor's knowledge and
belief, the above named accused, between 1925/2022 12:00:00AM and 11/25/2022 12:00:00AM at 4425 MEMORIAL DR, DECATUR,
GA, 30032, DEKALB, COUNTY did commit the offense of FUGITIVE FROM JUSTICE ( Felony ) in violation of O.C.G.A. 17-13-33 and
against State of GEORGIA and the laws of the State of GEORGIA. The facts this affidavit for arrest is based on are:Said accused has
been located within the boundries of DEKALB County, GA and is wanted for the charge of LARCENY, State of LOUISANA Warran
Number F2185022, the state of LOUISIANA has advised per Teletype, the agency will extradite O.C.G.A. 17-13-35 specifies
detention of 30 days from date of arrest unless extended by operation of law. Said 30 days will run through 12/25/2025 Prosecutor
makes this affidavit that a warrant may issue for the accused person's arrest.

Sworn to and subscribed before me this 1728/2022 10:55:12 AM

OS

Judge: A Taylor 11/28/2022 10:54:58 AM

Magistrate Court of DEKALB COUNTY Prosecutor:A. |. Chang
Agency: DeKalb County Sheriff
Badge:2848
STATE WARRANT FOR ARREST

STATE OF GEORGIA, COUNTY OF DEKALB: To the Chief of Police and Sheriff of County, any law enforcement officer thereof and to an
Sheriff, Deputy Sheriff, coroner, Constable, Marshal or law enforcement officer of the State of GEORGIA authorized to execute warrants,
GREETINGS: For sufficient cause made known to me in the above Affidavit, incorporated by reference herein, and other sworn or
affirmed testimony establishing probable cause for the arrest of the Defendant named in the foregoing Affidavit, you are hereby
commanded to arrest said Defendant charged by the Prosecutor therein with the offense against the laws of this State named in said
Affidavit and bring him or her before me or some other judicial officer of this State to be dealt with as the law directs. HEREIN FAIL

NOT.

This 14/28/2022 10:55:12 AM S / \C.

PLAINTIFF’S

EXHIBIT Judge: A Taylor
io Magistrate Court of DEKALB COUNTY

ORDER FOR BOND

IT 1S HEREBY ORDERED that the above-named accused, RANDAL Q REID , be and is hereby granted bail to be made with sufficient sure
as approved by the Sheriff of DEKALB COUNTY in the amount of OTHER-JUDGE SETS, to assure the presence of said accused at
arraignment, trial and final disposition in the Superior Court State Court of DEKALB COUNTY.

SPECIAL CONDITION OF BOND O
